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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION,
 !
 !
 UNITED STATES OF AMERICA,
 !
               Plaintiff,
     !
     !
 Vs.                                              Case No. 17-cr-20183
                                                  HON. MARK A. GOLDSMITH
 !
 !
 HAROLD LASHAWN NERO (D-5),
 !
             Defendant.
 !
 __________________________________________________________________
 MARK H. MAGDISON (P25581)
 Attorney for Defendant Nero (D-5)
 615 Griswold, Ste. 810
 Detroit, MI 48226
 313-963-4311; 313-995-9146 fax
 mmag100@aol.com
 __________________________________________________________________
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     DEFENDANT (D-5) HAROLD NERO’S MOTION TO SEVER TRIALS
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 !
       Defendant Harold Nero (D-5) moves this Honorable Court under Fed. R.

 Crim. P. 14(a), to sever his trial from the other eight co-defendants’ trials.

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 !
                                       Respectfully submitted,
 Date: September 21, 2018
                                       By: /s/Mark H. Magidson
                                         MARK H. MAGIDSON (P25581)
                                         Attorney for Defendant Nero (D-5)
                                         615 Griswold, Suite 810
                                         Detroit, MI 48226
                                         (313) 963-4311; mmag100@aol.com
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                  STATEMENT REGARDING CONCURRENCE


       I certify and affirm that pursuant to LR 7.1(a)(2)(A), there was a conference

 between the attorneys of record in which the movant explained the nature of the

 motion or request and its legal basis and requested but did not obtain concurrence

 in the relief sought.

 !
                                        By: /s/Mark H. Magidson
                                             MARK H. MAGIDSON (P25581)
                                             Attorney for Defendant Nero
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                       BRIEF IN SUPPORT OF
     DEFENDANT (D-5) HAROLD NERO’S MOTION TO SEVER TRIALS
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                                       FACTS
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        Defendant is charged in the Superseding Indictment (Doc. 98) with the

 following nine counts out of the total 19 counts charged:

     • Count One – sex trafficking conspiracy, contrary to 18 U.S.C. § 1594(c);

     • Counts Three through Eight – sex trafficking by force, fraud and coercion,

       aiding and abetting, contrary to 18 U.S.C. § 1591(a) & (b), and 18 U.S.C. §

       2;

     • Count Eleven – conspiracy to distribute a controlled substance, contrary to

       21 U.S.C. §§ 846, 841(a)(1), 841(b)(1)(A), 841(b)(1)(C); and,

     • Count Eighteen – maintaining drug-involved premises, aiding and abetting,

       contrary to 21 U.S.C. § 856(a)(1), and 18 USC § 2.

 !
        The Government generally alleges that the co-defendants engaged in

 conduct that either aided and abetted or caused eight unidentified women, over the

 age of eighteen, to engage in commercial sex acts, that is, the co-defendants

 engaged in a sex trafficking conspiracy. (Ind., Doc. 98, Pg ID 297-299).


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       The Government also alleges that the co-defendants conspired to possess

 with intent to distribute cocaine and heroin. Id. at 309. The allegation is that the co-

 defendants used the Victory Inn hotel to manage and control the processing and

 distribution of the drugs, variously acting as lookouts or protecting the drugs. Id. at

 310. The co-defendants also used the drugs to control and coerce the eight women

 to commit commercial sex acts at the Victory Inn. Id. at 311.

       Defendant Nero was living at the Victory Inn when the Government raided

 the premises. Years ago when Nero was released there from prison, he was paroled

 to the Victory Inn with the approval of the Michigan Department of Corrections.

       Being sporadically employed, Nero found it difficult to afford his room;

 however, he was able to pay for his room by doing odd jobs around the inn such as

 cleaning up the outside of the premises and doing other similar basic work.

       Nero had befriended many of the women who were committing commercial

 sex acts at the Victory Inn or soliciting sex for money on their own up and down

 Michigan Avenue.

       Nero was involved with the women because he lived at the Victory Inn, and

 because he was a heroin addict. He used drugs, but contrary to the assertions in the

 Indictment, he did not force drugs on the women or conspire with others to force

 them into prostitution to pay off their drug or hotel room debts. There were many

 times when Nero would use drugs that the women had obtained on their own. Nero




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 mainly bought his drugs from other sources but admits to buying drugs from some

 of the other co-defendants; but always, it was solely for his own use.

       After an investigation, the FBI obtained a warrant and raided the Victory

 Inn. Nero was arrested during the raid, interviewed by the agents, and then

 released. Later, he was indicted and re-arrested.

       Nero’s defense in this case is that he was merely present, using drugs. He

 was aware of the co-defendants’ criminal drug activity and the prostitution of the

 women at the Victory Inn; however, he did not join the conspiracy, participate in its

 criminal acts, nor did he aid and abet the conspiracy. Nero also did not commit any

 acts constituting sex trafficking or drug distribution.

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                                      ARGUMENT
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       If co-defendants are properly joined under Fed. R. Crim. P. 8(b), the trial

 Court must determination whether joinder prejudices Defendant. If the joinder and

 consolidation of defendants for trial “appears to prejudice a defendant . . . the court

 may . . . sever the defendants’ trials, or provide any other relief that justice

 requires.” Fed. R. Crim. P. 14(a).

       “[A] district court should grant a severance under Rule 14 only if there is a

 serious risk that a joint trial would compromise a specific trial right of one of the


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 defendants, or prevent the jury from making a reliable judgment about guilt or

 innocence.” Zafiro v. United States, 506 U.S. 534, 539, 113 S. Ct. 933, 938 (1993).

       In United States v. Ayala Lopez, 319 F. Supp. 2d 236 (D.P.R. 2004), a

 District of Puerto Rico case cited for persuasion, the co-defendants in a capital,

 death eligible case moved to sever trials. Id. at 237. (Although Ayala Lopez

 involved a death penalty eligible co-defendant, the complex circumstances are

 similar to this case.) There were three non-capital defendants as well as one co-

 defendant who faced a possible sentence of death. Id. All defendants were charged

 with Counts One and Two of the Indictment, but the capital defendant was charged

 with two separate counts, three and four. Id. After analyzing the circumstances, the

 district court granted the motion to sever. Id.

       In Ayala Lopez, the non-capital co-defendants argued that joining their cases

 affected their rights to due process and prejudiced them because they would have

 to present antagonistic defenses before a death-certified jury. Id. at 238.

       The Ayala Lopez court found that the time required for two separate trials

 would not be substantially greater than the time required for a joint trial, Id. at 239,

 and that severance would allow for a quicker disposition of the non-capital cases.

 Id. The court also noted that in the majority of federal death penalty cases some

 type of severance has been granted. Id. at 240 (citation to the record omitted). In

 the twelve cases that reached the trial stage where there was a single capital




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 defendant and one or more non-capital defendants, severance had been granted

 eight times (67%). Id.

       The Ayala Lopez court cited the US Supreme Court’s decision in Zafiro,

 supra, regarding the standard for severing defendants and antagonistic defenses.

 Ayala Lopez, supra 319 F. Supp. 2d at 237. The US Supreme Court described the

 serious risks that would require severance:

       Such a risk might occur when evidence that the jury should not consider
       against a defendant and that would not be admissible if a defendant were
       tried alone is admitted against a codefendant. For example, evidence of a
       codefendant's wrongdoing in some circumstances erroneously could lead a
       jury to conclude that a defendant was guilty. When many defendants are
       tried together in a complex case and they have markedly different degrees of
       culpability, this risk of prejudice is heightened. Evidence that is probative of
       a defendant's guilt but technically admissible only against a codefendant also
       might present a risk of prejudice. Conversely, a defendant might suffer
       prejudice if essential exculpatory evidence that would be available to a
       defendant tried alone were unavailable in a joint trial. The risk of prejudice
       will vary with the facts in each case, and district courts may find prejudice in
       situations not discussed here. (Emphasis added.) [Zafiro v. United States,
       supra 506 U.S. at 539 (citations omitted).]
 !
       The Ayala Lopez court granted severance and gave the issue of antagonistic

 defenses greater weight than the other arguments or factors:

              Although not necessarily antagonistic, a joint trial will necessarily
       result in Defendants pointing at each other in an attempt to exculpate
       themselves or ameliorate guilt. This alone is not a reason to grant severance.
       However, we are not blind to the fact that "the dangers inherent in joint trials
       become intolerable when the co-defendants become gladiators, ripping each
       other's defense apart. In their antagonism, each lawyer becomes the
       government's champion against the co-defendant, and the resulting struggle
       leaves both defendants vulnerable to the insinuation that a conspiracy


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       explains the conflict." United States v. Romanello, 726 F.2d 173, 182 (5th
       Cir. 1984). This danger is heightened given that no due process or prior
       notice requirements attach to Co-defendants, resulting essentially in the trial
       by ambush that the modern discovery procedure rules and court orders to
       that affect were explicitly designed to prevent.
       !
              While the defenses … may not fully meet the mutually exclusive
              standard, there will be substantial and significant differences in the
              tactical approaches taken by their respective counsel. At times they
              will have different positions on evidentiary objections, and different
              approaches to the cross-examination of the government's witnesses
              and in the presentation of defense witnesses.
       !
       United States v. McVeigh, 169 F.R.D. 362, 370 (D. Colo. 1996). After
       reading the submitted briefs on the issue of conflicting defenses, inclusively
       that of the capital Defendant, we are of the impression that the Defendants,
       both the capital Defendant as well as the non-capital Defendants, face an
       unacceptable risk of prejudice if tried together. [Ayala Lopez, supra 319 F.
       Supp. 2d at 238-239.]
 !
       A defendant must show substantial prejudice or that “an antagonistic defense

 would present a conflict ‘so prejudicial that defenses are irreconcilable, and the

 jury will unjustifiably infer that this conflict alone demonstrates that both are

 guilty.’ " United States v. Warner, 971 F.2d 1189, 1196 (6th Cir. 1992)(citations

 omitted).

       In this case, Defendant Nero is charged with nine of the 19 total counts

 charged against all defendants. The Indictment does not describe Nero’s specific

 conduct, but had Nero been a significant part of the alleged crimes, his actions

 could have been described.




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       However, Nero maintains that the antagonistic and mutually exclusive

 defense that he was merely present, using drugs. He was aware of the co-

 defendants’ criminal drug activity and the prostitution of the women at the Victory

 Inn; however, he did not join the conspiracy, participate in its criminal acts, nor did

 he aid and abet the conspiracy. Nero also did not commit any acts constituting sex

 trafficking or drug distribution.

       This is just like the situation in Ayla Lopez, supra, where the defenses may

 not have been fully mutually exclusive, but there will be substantial and significant

 differences in the tactical approaches taken by the defendants in this case.

       The evidence admissible against the co-defendants would likely prejudice

 Nero who was merely present, living at the Victory Inn.

       The defendants will have different approaches to the cross-examination of

 the Government's witnesses because Nero will explicitly question the women

 witnesses/victims to clarify that Nero was not engaged in any conduct like that of

 the co-defendants in relation to his contact with some of the women.

       Nero’s defense is that his drug addiction and residence at the Victory Inn

 made him look guilty by association and was the only reason he was swept up in

 the federal agent’s raid, which was legitimately intended for the co-defendants’

 criminal acts.

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       WHEREFORE, Defendant Nero (D-5) moves this Honorable Court to sever

 his trial from the co-defendants’ trials.

                                             Respectfully submitted,
 Date: September 21, 2018
                                             By: /s/Mark H. Magidson
                                               MARK H. MAGIDSON (P25581)
                                               Attorney for Defendant Nero (D-5)
                                               615 Griswold, Suite 810
                                               Detroit, MI 48226
                                               (313) 963-4311
                                               MMAG100@AOL.COM

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 !
 !
                            CERTIFICATE OF SERVICE

       I certify that on September 21, 2018, I electronically filed the above Motion

 with the Clerk of the Court using the CM/ECF system, which will send notification

 of such filing to the parties of record.

                                             By: /s/Mark H. Magidson
                                               MARK H. MAGIDSON (P25581)
                                               Attorney for Defendant Nero (D-5)




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